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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
       v.                                        §        CRIMINAL NO. 1:25-cr-257-1
                                                 §
 JAMES LAEL JENSEN                               §


    ADVISORY TO THE COURT CONCERNING BOND REVOCATION HEARING

TO THE HONORABLE COURT:

       Defendant James Lael Jensen (“Mr. Jensen”) files this Advisory to the Court Concerning

Bond Revocation Hearing and would respectfully show:

                                   I.      INTRODUCTION

       1.      The Government recently reported Mr. Jensen for an alleged violation of his

conditions of release for contacting his bookkeeper in Brownsville, Ms. Gloria Moreno, in an

attempt to ensure tax returns were timely prepared and filed.

       2.      Prior to his Indictment, Mr. Jensen had been in routine communication with Ms.

Moreno, who was employed to do bookkeeping tasks and to provide financial information to Mr.

Jensen’s Certified Public Accountant.

       3.      Mr. Jensen was not aware of who he should or should not be in contact with as the

Government had not yet provided a list of prohibited persons to Mr. Jensen or his counsel (as

required under the conditions of release). In fact, on the day that Mr. Jensen contacted Ms.

Moreno, a meeting was held in McAllen, Texas with Mr. Jensen, the undersigned counsel, and the

Government prosecutors to discuss this case. At no time was the Defense provided with a list of

Government witnesses or other prohibited persons.
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       4.      Mr. Jensen did not intend to violate any rules, regulations, or conditions of his

release when contacting Ms. Moreno. Mr. Jensen’s only intent was to ensure that IRS deadlines

would be met for his personal tax returns and for the returns for certain affiliated businesses.

       5.      Mr. Jensen’s counsel has requested the Government provide a list of persons so that

any future misunderstanding can be avoided, but to date, the Government has refused to do so.

                             II.     RELEVANT BACKGROUND

       6.      Mr. Jensen was indicted on April 17, 2025. ECF No. 1. A superseding indictment

was returned on May 22, 2025. ECF No. 82

       7.       April 23, 2025, Mr. Jensen was arrested in Salt Lake City, Utah.

       8.      On April 24, 2025, Mr. Jensen appeared before U.S. Magistrate Judge Dustin B.

Pead in the United Sates District Court for the District of Utah. See ECF No. 25 at p. 2, 31-32.

       9.      U.S. Magistrate Judge Pead allowed Mr. Jensen to be released under certain

conditions. See ECF No. 25 at p. 33-37.

       10.     On May 5, 2025, U.S. Magistrate Judge Karen Betancourt entered an Order

Granting Joint Motion to Modify Bond Conditions. ECF No. 50.

       11.     One of the agreed conditions of release was that Mr. Jensen would “avoid all

contact, directly or indirectly, with any person who is or may be an alleged victim, potential

witness and/or co-defendant in the investigation or prosecution. List of persons to be provided

to the defendant by the Government.” See ECF No. 25 at p. 34, Section C of the Additional

Conditions of Release (emphasis added).

       12.     On June 23, 2025, Mr. Jensen traveled to Brownsville (with knowledge and

approval from his USPO officer) for purposes of meeting with his undersigned counsel and for a

June 24, 2025 meeting at 2 p.m. with the U.S. Attorney’s Office in McAllen. See June 20 e-mail



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attached as Exhibit 1 and incorporated by reference. In this June 20, 2025 e-mail, Mr. Jensen

notified his Pre-Trial Services Officer that, among other things, Mr. Jensen planned on “meeting

with accountant on personal taxes.” Id.

       13.     On the morning of June 24 at 11:50 a.m. (prior to the meeting with the

Government), Mr. Jensen reached out via e-mail to Ms. Moreno about the need to get financials

so he could prepare his personal tax returns. Mr. Jensen advised Ms. Moreno that he was unsure

about who he could or could not speak to but that “from the meetings today, I hope I’ll have

someone [sic] clear directions what I can do.” See June 24 e-mail attached as Exhibit 2 and

incorporated by reference. Mr. Jensen specifically conditioned any subsequent meeting with Ms.

Moreno on getting more clarity from the Government on who can be contacted: “Hopefully, if I

can get that cleared we could maybe get together later this week while I’m down here.” Id.

       14.     To be absolutely clear – at that time (and to the present) the Government had neither

provided the Defense with the “list of persons” as required under the Amended Conditions of

Release nor informed the Defense that Ms. Moreno was a witness or otherwise prohibited person.

       15.     After the meeting with the Government in McAllen, the undersigned counsel

received a call from lead AUSA Sturgis advising that Mr. Jensen had allegedly violated his

conditions of release by communicating with Ms. Moreno. Defense counsel explained his

understanding that Ms. Moreno was a bookkeeper whose assistance was needed to gather

information and records for outstanding tax returns. Mr. Sturgis explained that the Government

did not believe that Ms. Moreno was a bookkeeper, did not believe that Ms. Moreno had been

involved with the company for an extended period of time, and believed the only plausible reason

Mr. Jensen had contacted Ms. Moreno was to improperly influence her (i.e. witness tampering).

Based on those positions, AUSA Sturgis advised he reported a violation to the USPO’s office.



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         16.   The Government’s understanding was wrong. Ms. Moreno had been in regular

communication with Mr. Jensen and had been actively assisting in gathering information for tax

preparation. Text messages between Ms. Moreno and Mr. Jensen show this. See text messages

attached as Exhibit 3 and incorporated by reference. E-mail communications between Ms. Moreno

and Mr. Jensen also show her role in assisting with bookkeeping functions. See e-mails attached

as Exhibit 4 and incorporated by reference.

         17.   On June 25, 2025, the Defense asked AUSA Sturgis for a list of witnesses to

provide clarity on who the Defendants should or should not contact. See June 25 e-mail from

Robert Guerra (counsel for co-defendant Max Jensen) to AUSA Sturgis, attached and incorporated

as Exhibit 5. In his response, AUSA Sturgis declined to give a list and just generally stated that

“any employee, current or past, of any of the Jensen companies is a potential or likely witness.” 1

Id.

         18.   Based on the Government’s reporting to the USPO of Mr. Jensen’s contact with

Ms. Moreno as an alleged violation, on June 26, 2025, this Court set a Bond Revocation Hearing

for July 16, 2025.

         19.   On June 26, 2025, this Court set a telephone conference for July 2, 2025 at 1:15

p.m.

         20.   At the time Mr. Jensen contacted Ms. Moreno, other than a single recorded post-

arrest interview, the Government had produced no discovery, no reports, no search warrants, no

search warrant inventories, and no investigative summaries.




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 After receiving AUSA Sturgis’ response, co-defendant Max Jensen filed a Motion to Compel the
Government to provide a list of witnesses to Defendant and modify the terms and conditions of his
release. ECF No. 106. Mr. Jensen intends to join the relief sought in that motion.
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                                       III.   ADVISORY

       21.     Mr. Jensen did not knowingly violate any condition of his release. The condition

contemplates that the Government would provide a list of persons with whom Mr. Jensen would

be prohibited from contacting. The government has still not done so. It would be impossible not

to contact a specified list of persons when the Government refuses to give such a list. The

Conditions of Release (and basic Due Process) requires the Government to provide notice of those

persons it considers victims, witnesses, or otherwise prohibited persons.       Without that, the

Defendants are left to speculate about who they can communicate with – all with the risk of bond

revocation hanging over their heads.

       22.     Mr. Jensen’s conduct actually showed prudence and respect for the law. When he

contacted Ms. Moreno, he specifically advised her in the June 24, 2025 e-mail that he would try

to get clarity from the Government about who he could or could not speak to. Prior to making

contact with Ms. Moreno, the Government never advised the Defense or Mr. Jensen that Ms.

Moreno could not be contacted.

       23.     The Indictment does not allege a tax offense that would make her role as a

bookkeeper somehow equate to a protected person. What motivated Mr. Jensen was only a sincere

desire to make sure tax returns would be timely prepared and filed. There is absolutely no evidence

or logic to suggest that he was attempting to improperly influence a witness. The Government’s

belief otherwise was based on an incorrect understanding of the facts – i.e. that Ms. Moreno was

not actively and currently involved in bookkeeping – a position that is conclusively refuted by the

attached text messages and e-mails.




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       24.     Mr. Jensen respectfully requests that the Court maintain his current conditions of

release and order the Government to provide the ”List of Persons” contemplated by the Additional

Conditions of Release so that there can be no uncertainty in the future.

                                            PRAYER

       For the reasons stated herein, Defendant James Lael Jensen respectfully requests that the

Court consider this advisory.

DATED: July 1, 2025.
                                                       Respectfully submitted,


                                              By:      /s/ Jason M. Davis
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                                                       Attorney for Defendant
                                                       James Lael Jensen




                                  CERTIFICATE OF SERVICE

        I certify that on the 1st day of July 2025, the foregoing document was electronically filed
with the Clerk of the Court using the CM/ECF system and all counsel of record will receive an
electronic copy via the Court’s CM/ECF system.


                                                       /s/ Jason M. Davis
                                                       Jason M. Davis




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